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                                                                        BY bolte      DEPUTY CLERK


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  8

  9                             UNITED STATES BANKRUPTCY COURT

 10                CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

 11

 12 In re:                                                 Case No.: 8:23-bk-10571

 13 THE LITIGATION PRACTICE GROUP P.C.,                    Chapter 11

 14          Debtor.                                       ORDER APPOINTING NANCY
                                                           RAPOPORT AS ETHICS COMPLIANCE
 15                                                        MONITOR

 16                                                        Date: July 21, 2023
                                                           Time: 10:00 a.m.
 17                                                        Judge: Hon. Scott C. Clarkson
                                                           Place: Courtroom 5C
 18                                                               411 W. Fourth Street
                                                                  Santa Ana, CA 92701
 19

 20
             On July 21, 2023, at 10:00 a.m., in Courtroom 5C of the United States Bankruptcy Court,
 21
      Central District of California, Santa Ana Division ("Bankruptcy Court"), located at 411 West Fourth
 22
      Street, the Honorable Scott C. Clarkson, United States Bankruptcy Judge, conducted a hearing
 23
      ("Hearing") regarding above-referenced debtor, The Litigation Practice Group, P.C. ("LPG" or the
 24
      "Debtor") relating to the within bankruptcy estate ("Estate"); on the Motion of Trustee Richard A.
 25
      Marshack ("Trustee")For Entry of an Order: (A) Approving Sale of Assets Free and Clear of All Liens,
 26
      Claims, Encumbrances and Interests Pursuant to 11 U.S.C. § 363(b); and (B) Approving the
 27
      Assumption and Assignment of Certain Executory Contracts and Unexpired Leases and Other
 28

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  1 Agreements [Dkt. No. 191] (the "Motion")1 filed by Richard A. Marshack on July 7, 2023 in the

  2 above-captioned Chapter 11 bankruptcy case ("Case"), along with the Declaration of Richard A.

  3 Marshack in Support by Richard A. Marshack, Chapter 11 Trustee [Dkt. No. 191-1] ; Declaration of

  4 Mr. Carss [Dkt. No. 191-2]; Declaration of Mr. Pruyn [Dkt. No. 191-3]; Declaration of Mr. Rebhun

  5 [Dkt. No. 191-4]; and Declaration of Mr. Schneider [Dkt. No. 191-5], along with all supplemental

  6 documents requested by the Bankruptcy Court to be filed on July 17, 2023, including but not limited

  7 to Trustee's Pocket Brief [Dkt. No. 260]; the Supplemental Declaration of Mr. Rebhun [Dkt. No. 260-

  8 1]; the Supplemental Declaration of Mr. Pruyn [Dkt. No. 260-2]; and Supplemental Declaration of Mr.

  9 Carss [Dkt. No. 260-3]. Christopher Celentino, Christopher Ghio, Yosina Lissebeck and Peter W.
 10 Bowie of Dinsmore & Shohl LLP appeared on behalf of Trustee. Keith C. Owens and Nicholas A.

 11 Koffroth at Fox Rothschild LLP appeared on behalf of the Official Committee of Unsecured Creditors

 12 ("Committee"). The Office of the United States Trustee appeared by and through Kenneth Misken,

 13 Leslie Skorheim and Queenie Ng. The consumer privacy ombudsman, Lucy Thomson, appeared. The

 14 proposed monitor, Nancy Rapoport, appeared. Other interested parties and bidders appeared as

 15 reflected on the record. Any other appearances were as stated on the record. The Bankruptcy Court

 16 having entered its Order Approving Motion of Trustee Richard A. Marshack For Entry of an Order:

 17 (A) Approving Sale of Assets Free and Clear of All Liens, Claims, Encumbrances and Interests

 18 Pursuant to 11 U.S.C. § 363(b); and (B) Approving the Assumption and Assignment of Certain

 19 Executory Contracts and Unexpired Leases and Other Agreements [Dkt. No. 320] entered on July 22,

 20 2023.

 21            As set forth in the ORDER (A) APPROVING SALE OF ASSETS FREE AND CLEAR OF

 22 ALL LIENS, CLAIMS, ENCUMBRANCES AND INTERESTS PURSUANT TO 11 U.S.C. §

 23 363(b), (B) APPROVING ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY

 24 CONTRACTS AND UNEXPIRED LEASES AND OTHER AGREEMENTS, AND (C) GRANTING

 25 RELATED RELIEF ("Sale Order") [Dkt. No. 352] the Bankruptcy Court GRANTED Trustee's

 26 Motion.
 27 ///

 28
      1
          Terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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  1          In connection therewith, the Bankruptcy Court approved the appointment of Nancy Rapoport

  2 as ethics compliance monitor ("Monitor") pursuant to 11 U.S.C. section 105(a), as set forth in Purdue

  3 Pharma L.P., et al., v, Commonwealth of Massachusetts (In re Purdue Pharma, L.P.), Bankr. S.D.N.Y.

  4 Case No. 19-23649 (RDD) Adv. Pro. No. 19-08289, and based on the explicit written consent of the

  5 buyer identified in the Sale Order ("Buyer"), based on the following facts:

  6          The Asset Purchase Agreement attached to the Sale Order ("APA") states that the Estate and

  7 the Buyer will each advance $100,000 at the Closing, as initial funding for employment of the Monitor;

  8 and that subsequent fees over that amount shall be pursued by the Monitor, from funds of the Estate

  9 after consideration and approval by the Bankruptcy Court.
 10 NOW, THEREFORE, THE BANKRUPTCY COURT HEREBY ORDERS, ADJUDGES, AND

 11 DECREES AS FOLLOWS:

 12                                  Appointment of Nancy Rapoport as Monitor

 13          1.      Nancy Rapoport is appointed as Monitor pursuant to 11 U.S.C. section 105(a), as set

 14 forth in Purdue Pharma L.P., et al., v, Commonwealth of Massachusetts (In re Purdue Pharma, L.P.),

 15 Bankr. S.D.N.Y. Case No. 19-23649 (RDD) Adv. Pro. No. 19-08289, and based on the explicit written

 16 consent of the Buyer.

 17          2.      The role of the Monitor in this case is strictly to monitor the Buyer's compliance with

 18 generally understood ethical standards and consumer protection obligations relating thereto and not to

 19 act as an attorney or to provide any legal advice whatsoever to the Buyer or to any of the Buyer's to-

 20 be-assumed clients. Given the reach of the operations, Monitor's role shall not include specific

 21 compliance with any given state's ethics rules but will be based on generally established legal ethics

 22 principles.

 23          3.      Fees and expenses of the Monitor shall be paid by the Estate, up to the first

 24 $100,000.00, upon proper application to the Bankruptcy Court, and additional fees and expenses of

 25 the Monitor shall be paid by Buyer, up to $100,000.00. Any amounts in excess of $200,000.00 will

 26 be the responsibility of the Seller's Estate.
 27          4.      The role of a Monitor in this case is strictly to monitor the Buyer's compliance with

 28 generally understood ethical standards and certain consumer protection obligations and not to act as


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  1 an attorney or to provide any legal advice whatsoever to the Buyer or any of the Buyer's to-be-assumed

  2 clients. Given the reach of the operations, Monitor's role shall not include specific compliance with

  3 any given state's ethics rules.

  4          5.     The Monitor shall perform her duties according to the terms of the APA and this Order

  5 of Appointment, pursuant to which the Monitor shall be vested with all rights and powers reasonably

  6 necessary to carry out such powers, duties, authority, and responsibilities. In the event of any conflict

  7 between the APA and this Order, the terms of this Order shall control.

  8          6.     The Monitor shall:

  9                 a.       work with all diligence to confirm and oversee compliance with the ethical

 10 issues raised as part of the representations and warranties of the Buyer as set forth in the APA,

 11 including but not limited to sections 12(j) through 12(k), section 12(m) and sections 12(q), as follows

 12 (all capitalized terms not otherwise defined herein shall have the definition set forth in the APA):

 13                          i. Buyer's LSAs and the implementation thereof have been modified

 14                             ("Modified LSA's") for compliance with the Telephone Consumer

 15                             Protection Act, 47 U.S.C. § 227 ("TCPA"), the Telemarketing Sales Rule,

 16                             16 C.F.R. Part 310 (the "TSR"), and the Credit Repair Organizations Act,

 17                             15 U.S.C. § 1679 (the "CROA"), as well as all applicable laws and

 18                             regulations as well as any Order of the Bankruptcy Court;

 19                         ii. The performance of the Modified LSAs will similarly comply with the

 20                             TCPA, TSR, and the CROA, as well as all applicable laws and regulations

 21                             as well as any Order of the U.S. Bankruptcy Court;

 22                        iii. Review and recommend the procedures to assume and assign the reformed

 23                             LSAs as set forth in the APA, and as may be further ordered by the

 24                             Bankruptcy Court;

 25                        iv. Buyer's cooperation with the requests, oversight, and inquiries of the

 26                             Monitor;

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  1                          v. Buyer's provision of profit and loss statements, balance sheets, deposit

  2                               accounts, and other financial information related to the Active Executory

  3                               Contracts and Inactive Executory Contracts being purchased by Buyer; and

  4                         vi. Buyer's provision of both reports and administrative access into Buyer's

  5                               ACH processing merchant account and related bank accounts, as well as

  6                               customer relationship management software, such as Debt Pay Pro (or other

  7                               similar software) for the purpose of monitoring Buyer's compliance with the

  8                               APA as it relates to Active and Inactive Executory Contracts it is

  9                               purchasing.

 10                  b.       work with all diligence to confirm and oversee reformation of the terms of

 11 Buyer's Legal Services Agreement;

 12                  c.      provide regular reports to the Bankruptcy Court, which reports shall be filed on

 13 the Bankruptcy Court's docket, with electronic notice to the Trustee and Committee, and which reports

 14 may include a discussion of the Buyer's possible violation of generally accepted legal ethics principles,

 15 if any.

 16           7.     The Monitor shall, among other things, and subject to this Order of Appointment:

 17                  a.      subject to any legally recognized privilege, rights of confidentiality or privacy,

 18           and as necessary or to perform her duties, have full and complete access to the Buyer's

 19           personnel, books, records, and facilities, and to any other information, as she may request. The

 20           Buyer, in conjunction with the Trustee and the Committee, shall develop such information as

 21           the Monitor may request and shall fully, completely, and promptly cooperate with the Monitor.

 22           The Monitor may raise with the Trustee, Committee and the Bankruptcy Court any issues

 23           relating to any failure of or delay in such cooperation for an expedited resolution by the

 24           Bankruptcy Court;

 25                  b.      serve, without bond or other security, with the Monitor's fees subject to final

 26           approval by the Bankruptcy Court, subject to the fee allocation provisions between the Estate

 27           and Buyer, as set forth at section 3, above; the Monitor may submit interim fee applications no

 28           more often than every 120 days pursuant to the Local Bankruptcy Rules. In the interim, the


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  1       Bankruptcy Court will authorize the payment of 80% of fees and 100% expenses each month,

  2       based on a monthly fee statement to be filed with the Bankruptcy Court. A fee application shall

  3       be filed no sooner than every 120 days. It is further provided that the Monitor shall be

  4       authorized to use the services of Special Counsel to the Trustee for the purpose of preparing

  5       and submitting such fee applications and in filing any reports or other pleadings with the

  6       Bankruptcy Court;

  7              c.      have the authority to employ, upon Bankruptcy Court approval, at the cost and

  8       expense of the Estate (subject to the fee allocation provisions between the Estate and Buyer,

  9       as set forth at section 3, above), such consultants, accountants, attorneys, and other

 10       representatives and assistants (including law students) as are necessary to carry out her

 11       responsibilities. It is further provided that, subject to the provisions of this Order, Monitor's

 12       employment of law students as assistants shall be considered expenses, such that interim

 13       payment shall be made at 100% as set forth in section 7(b), above. The Monitor shall be

 14       authorized to use the services of the Trustee's Special Counsel and the Trustee's accountants to

 15       conduct forensic analysis of data for the Monitor, at the expense of the Estate. The Monitor

 16       shall serve for a period of one year from date of appointment unless such period is extended

 17       by the Bankruptcy Court, at which time the Monitor shall submit a final report and be

 18       discharged;

 19              d.      have no obligation, responsibility, or liability for the operations of the Buyer;

 20       and the Estate shall indemnify, defend, and hold harmless the Monitor from any and all liability

 21       and expenses incurred in accordance with the Monitor's duties to be performed hereunder.

 22       Moreover, it is provided that the Monitor shall not be liable for damages in connection with

 23       the discharge of her duties, but shall remain subject to the oversight and discipline of the

 24       Bankruptcy Court (see, e.g., East Coast Foods, Inc. v. Development Sepcialists, Inc., et. al.,

 25       (In re: East Coast Foods, Inc.), Case. No. 2:16-bk-13852-BB (BAP No. CC-23-1034-FILS),

 26       NOT FOR PUBLICATION, entered July 19, 2023);

 27              e.      file a first report on the 120th day after the Closing; and thereafter not less than

 28       every 90 days regarding compliance by the Buyer with the terms of the APA and this Order of


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  1          Appointment; provided that elements of any such report may be filed under seal, the discretion

  2          of the Monitor but with unredacted copies served on a confidential basis to Buyer, Trustee,

  3          UST, and Committee, if dealing with any confidential customer or proprietary information, or

  4          subject to such other confidentiality Restrictions contained in this Order of Appointment. The

  5          Bankruptcy Court may, in response to such reports, provide such further direction to the

  6          Monitor as it deems appropriate, said determination to be made after notice and a hearing in

  7          conjunction with the Bankruptcy Court's calendar and as directed by the Bankruptcy Court;

  8                 f.      maintain, to the best of her abilities and consistent with the Buyer's privacy

  9          policies and applicable privacy law requirements, as confidential the data of Buyer and each

 10          of the Monitor's consultants, accountants, attorneys, and other representatives and assistants

 11          shall also maintain such confidentiality as deemed necessary by the parties; provided, however,

 12          that nothing shall restrict the Monitor from providing any information to the Bankruptcy Court

 13          and the parties consistent with the terms of any Protective Order; and

 14          8.     Disputes concerning the Buyer's compliance with its obligations under the APA, and

 15 specifically section 12 thereof (Buyer's representations and warranties, except with respect to section

 16 12(o)), and with all other matters subject to the supervision of the Monitor, shall be addressed as

 17 follows:

 18                 a.      If the Monitor should develop a reasonable basis to believe the Buyer is not in

 19          compliance with the terms of the APA or the Buyer's duties as reiterated in section 6 of this

 20          Order of Appointment, the Monitor shall notify the Buyer, via the Buyer's principal, Joshua

 21          Armstrong, and      Buyer’s bankruptcy counsel (and/or other counsel designated by Mr.

 22          Armstrong), Danning, Gill, Israel & Krasnoff, Attn.: Zev Shechtman (via email at

 23          zs@DanningGill.com),       in writing of the specific objection, including identifying the

 24          provisions of the APA, the Appointment Order, or any legal ethics rule or general legal ethics

 25          principle that the practice appears to violate, and give the Buyer thirty (30) days to respond to

 26          the notification and cure the conduct at issue, if necessary, unless the Monitor believes that a

 27          shorter period to respond is necessary under the circumstances. If a shorter period is necessary,

 28          Buyer shall comply with that shortened period, as reasonably determined by Monitor.


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  1                b.      To the extent that the Buyer fails to cure the alleged conduct within the thirty

  2         (30) day period or the shorter period as referenced in subparagraph (a) (but not less than 7 days

  3         unless such shorter period is expressly approved or ratified by the Court), the Monitor shall

  4         have ten (10) days from the cure deadline to determine the appropriate action and response,

  5         and shall notify the Trustee, the Committee, and the Bankruptcy Court of the alleged violative

  6         practice and may, but shall not be required to, recommend an appropriate action, response, or

  7         remedy to be implemented by the Bankruptcy Court; based upon the Monitor's notification,

  8         and recommendation, if any, either the Trustee or the Committee may seek an appropriate

  9         remedy from the Bankruptcy Court via Noticed Motion, or in the event of an emergency, in

 10         accordance with the Emergency procedures set forth in the Local Rules of the United States

 11         Bankruptcy Court for the Central District of California, and all other applicable rules.

 12                c.      Pursuant to the Sale Order, Buyer agreed to be bound by the jurisdiction of this

 13         Bankruptcy Court, which includes all civil contempt liability arising from violation of this

 14         Order or the APA or federal or state (arising from any state) consumer protection statutes and

 15         regulations, including the debt resolution, privacy, data breach notification, data disposal,

 16         cybersecurity laws, and laws prohibiting unfair, deceptive, or abusive practices ("UDAP"),

 17         "do-not-track", "do-not-call," and "no spam" laws, as well as any and all issues related to the

 18         Monitor and/or the Monitor's discharge of her duties to monitor the Buyer, as addressed and

 19         consented to in Bankruptcy Court and in accordance with the Sale Order, this Order, the APA,

 20         any plan of reorganization, and 28 U.S.C. Section 1334(b).

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 24 Date: August 7, 2023

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